                United States Court of Appeals
                             FIFTH CIRCUIT
                          OFFICE OF THE CLERK
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CLERK                                             600 S. MAESTRI PLACE,
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                         April 01, 2024


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      No. 23-50869     State of Texas v. DHS
                       USDC No. 2:23-CV-55


Dear Counsel:
This case has been removed from abeyance.
The court would like the parties to address whether, in light of
the district court’s supplemental findings, expedited review is
still warranted. The parties should respond by letter to the
court on or before Friday, April 5, 2024.

                               Sincerely,
                               LYLE W. CAYCE, Clerk

                               By: _________________________
                               Lisa E. Ferrara, Deputy Clerk
                               504-310-7675
cc:
      Mr. Matt A. Crapo
      Mr. Conor Harvey
P.S. to counsel: Only the appellant and appellees should file
letters.
